       Case 1:19-cv-00175-JRH-BKE Document 47 Filed 09/25/20 Page 1 of 2


                   IN THE UNITED STATES DISTRICT COURT FOR THE
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                                SOUTHERN DISTRICT OF GEORGIA
                                           AUGUSTA DIVISION                             U.S. Di::^
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                                                                                                                          U  u) >Ut D
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                                                                                                                         DP'
                                                        'k
TONYA TAYLOR,
                                                                                         2020 SEP 25 P 2- 49
                                                        'k


                                                        k
        Plaintiff,
                                                        k


                                                        k


                                                        k
                   V.                                                   CV 119-175
                                                        *

                                                        k
WAL-MART STORES EAST,LP,
                                                        ■k


                                                        k
        Defendant.
                                                        k




                                                     ORDER




        Before the Court is Plaintiff Tonya Taylor's motion to dismiss

with prejudice.               (Doc.    45. )     When a defendant has already served an

answer       or    otherwise          filed      a   dispositive motion,               Federal             Rule              of

                                                                            \\
Civil        Procedure          (41) (a) (2)         provides        that        an    action              may               be

dismissed at the plaintiff's request only by court order, on terms
                                                        /f

that the court considers proper.                              Plaintiff's motion               states                    that


the    above       case       has     been      settled.       Defendant         has     not    filed                     any


responses or objections to this stipulation or motion.                                          Therefore,


upon    due       consideration.             this     Court    finds    dismissal proper under

Federal       Rule of Civil            Procedure        41(a) (2) .

        IT    IS    THEREFORE          ORDERED        that    this    matter      is    DISMISSED                        WITH


PREJUDICE.              The    Clerk       is   directed      to     TERMINATE         all   motions                      and

deadlines         and CLOSE         this     case.     Each party shall bear its own costs

and    fees.
    Case 1:19-cv-00175-JRH-BKE Document 47 Filed 09/25/20 Page 2 of 2


     ORDER   ENTERED   at   Augusta,    Georgia,   this   cAS     day   of

September, 2020.




                                1 J. R7?i    HALL, CHIEF JUDGE
                                 IJNITED ^ATES DISTRICT COURT
                                 south™ DISTRICT OF GEORGIA




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